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BIG VALLEY CORPORATION, d/b/a HELENA REAL ESTATE, a Montana
corporation; and JOHN C. WELCH, an individual, Plaintiffs, vs. ED WEINRIB, an
individual, and MICHELLE WEINRIB, an individual, Defendants.

Cause No, ADV-97-11

FIRST JUDICIAL DISTRICT COURT OF MONTANA, LEWIS AND CLARK
COUNTY

1997 Mont. Dist. LEXIS 650

May 1, 1997, Decided

JUDGES: [#1] Honorable Judge McCarter, DISTRICT
COURT JUDGE,

OPINION BY: McCarter

OPINION
DECISIGN AND ORDER

Currently before the Court are a motion by
Defendant Ed Weinrib to dismiss the complaint against
him and a motion by Defendant Michelle Weinrib to
strike those portions of the complaint requesting an award
of attomey fees and punitive damages against her,

The complaint in this action asserts causes of action
for business disparagement, interference with business
relations, intentional infliction of emotional distress,
negligent infliction of emotional distress, and trespass to
real properly, The complaint recites allegations that
Defendant Ed Weinrib entered the real estate office of
Plaintiffs several times and, while there, made threats and
disparaging remarks and attempted to cause physical
damage to the property. The complaint also states that
Ed Weinrib was acting on his own behalf and on behalf
of his mother, Defendant Michelle Weinrib, For cach
count, Plaintiffs ask for unspecified general damages,
punitive damages, costs, and attorney fees.

THE MOTION TO DISMISS

Tho Montana Supreme Court has summarized the
rules to be applied in deciding a motion to dismiss. A
district court rarely [*2] grants a motion to dismiss
pursuant to Rule 12(b), ALR. Civ.P, Wheeler v. Moe, 163
Mont. 154, 161, 515 P.2d 679, 683 (1973). In
determining whether dismissal is warranted, the
allegations of the complaint must be viewed in a light
most favorable to plaintiffs, admitting and accepting as
true all facts well-pleaded. United States Nat'l Bank of
Red Lodge v. Moniana Dep't of Rev., 175 Ment, 205, 207,
573 P.2d 188, 190 (1977) (citing Board of Equalization
v. Farmers Union Grain Terminal Ass'n, 140 Mont, 323,
531, 374 P.2d 231, 236 (1962)}. A complaint will not be
dismissed for failure to state a claim unless it appears
beyond any doubt that the plaintiff can prove no set of
facts in support of his claim which would entitle him to
relief, Thus, the district court is not to engage in
fact-finding when ruling on a motion to dismiss, Mlemmer
vy. Ming, 190 Mont, 403, 408, 621 P.2d 1038, 104i
(F981).

Defendant Ed Weinrib argues that Plaintiffs' claim
for business disparagement must be dismissed because
this cause of action has not been recognized in Montana,
Plaintiffs respond that other jurisdictions have recognized
business disparagement [*3] as a separate commercial
tort, citing two Colorade cases.

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Neither the Montana legislature nor the Montana
Supreme Court has as yet recognized a cause of action for
business disparagement, This Court therefore declines to
permit Plaintiffs to proceed with that cause. of action.
Defendant's motion fo dismiss this cause of action is
GRANTED.

Defendant Ed Weinrib argues that several of
Plaintiffs' claims must fail because the complaint asserts
that his conduct was both intentional and negligent.
Weinrib argues that the assertion of negligence precludes
a finding of intentional conduct, which is required for the
claim of interference with business and contractual
relationships, as well as for punitive damages. The Court
disagrees. While the phrase "intentional and negligent” is
perhaps a legal oxymoron, the relevant sections of the
complaint assert that Defendants’ conduct was intentional
and that they acted with actual malice. This is sufficient.
The motion to dismiss on this ground is DENIED,

Defendant Ed Weinrib makes several arguments
regarding Plaintiffs’ claims for damages for emotional
distress. The Court notes that there are two plaintiffs in
this action, one of which [*4] is a corporation, and the
other an individual, but the complaint frequently refers fo
“the Plaintiff” without distinguishing between the. two.

The Court agrees that the corporation cannot assert “a

Furthermore, the colipieint asserts separate cause
action for intentional and negligent infliction of
emotional distress and requests an award of punitive
damages under both. However, under the recent case of
Sacco v. High Country Independent Press, 2 Mont. 209,
896896 P.2d 411 (1995), punitive damages cannot be
recovered on a theory of negiigent infliction of emotional
distress. The motion to dismiss on these grounds is
GRANTED in part and DISMISSED in part accordingly.

Defendant Ed Weinrib argues that the complaint is
insufficient because it is not specific enough as to the
intensity and duration of Plaintiffs severe emotional
distress. The Court disagrees that anything more than an
allegation that severe emotional distress resulted from
Defendant's actions is required in the pleadings. Any
further detail is to be explored in discovery, and
Defendant can revisit this issue in a motion for summary
judgment if evidence [*5] of severe emotional distress is
not forthcoming, The motion to dismiss on this ground is
DENIED.

Defendant Ed Weinrib asserts that Plaintiffs’ claims

cause of action for infliction of emotional distress.

for emotional distress must fail because Plaintiff John
Welch was not present during Ed Weinrib's alleged
actions and threats. However, Weinrib cites this Court to
no authority for this proposition, and the Court does not
agree that threats of violence cannot cause emotional
distress merely because they occur outside the presence
of the affected person, The motion to dismiss on this
ground is DENIED,

With regard to the claim for trespass to real property,
the Montana Supreme Court has adopted the elements set
forth in the Restatement (Second) of Torts See. 158,

One is subject to liability to another for
trespass, irrespective of whether he
thereby causes harm to any legally
protected interest of the other, if he
intentionally (a) enters land in possession
of the other... or (b) remains on the land,
or (c) fails to remove from the land a thing
which he is under a duty to remove.

Ducham v. Tuma, 265 Mont, 436, 440, 877 P.2d 1002,
1005 (1994). .

Defendant Ed Weinrib [*6] originally argued that

™, Plaintiffs’ complaint was insufficient because it failed to

allege injury to rea! property, He has conceded that such
injury is not required, but now alleges that the complaint
fails to allege intentional conduct.

The complaint alleges that Ed Weinrib entered the
Plaintiffs' office for a wrongful purpose, attempted to
cause physical damage, and returned twice afler being
told to leave and continued his threats of physical harm.
The Court finds that these allegations are sufficient to
meet the requirement of intentional conduct. The motion
to dismiss on these grounds is DENIED,

THE MOTION TO STRIKE

Rule 12(£}, M.R.Civ.P., provides:

Upon motion mado by a party before
responding to a pleading or... upon the
court's own initiative at any time, the court
may order stricken from any pleading any
insufficient defense or any redundant,
immaterial, impertinent, or scandalous
matter,

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In evaluating a motion fo strike, the court must treat all
well-pleaded facts as admitted, and cannot consider
matters beyond the pleadings. Carlson Corp. Southeast
v. Schoal Board of Seminole County, 778 F. Supp. 578,
519 (M.D.Fla, 1991), Where granting [*7] the motion
may have the effect of making the trial less complicated,
or have the effect of streamlining the ultimate resolution
of the action, the motion to strike will be well taken.
State of California ex ret. State Lands Comm. v. United
States, 512 F. Supp. 36, 38 (N.D,Cal. 1981),

Defendant Michelle Weinrib asserts that the claims
for punitive damages against her should be stricken
because the complaint fails to allege that she had any
"knowledge of facts" and thus fails to sufficiently allege
actual malice on the part of Michelle.

Plaintiffs' claims against Defendant Michelle
Weinrib are based on an agency relationship between the
Defendants. Paragraph 5 of the amended complaint
alleges a principal and agent relationship between the
Defendants and asserts that Ed Weinrib's actions were
done pursuant to instruction by Michelle Weinrib.
Paragraph 6 alleges that Ed Weinrib engaged in the acts
and events with actual express and/or implied authority
from Michelle Weinrio,

Under Section 28-10-602, MCA, a principal is liable
for the wrongs of an agent which the principal has
authorized or ratified. In Daniels v. Dean, 233 Mont.
465, 472-73, 833 P.2d 1078, 1083 (1992), [*8] the
Montana Supreme Court rejected the argument now made
by Michelle Weinrib. Section 28-10-602 does not apply
only to compensatory damages, A principal can be liable
for punitive damages for the intentional and malicious
acts of an agent, even absent a showing of actual malice
on the part of the principal. Id. The motion to strike the
claims for punitive damages against Michelle Weinrib on
this basis is DENIED,

ATTORNEY FEES

Both Defendants have asked the Court to dismiss
Plaintiffs’ requests for attorney fees under each count of
the complaint. The rule in Montana is that attorney fees
will not be awarded absent statutory or contractual
authority, The supreme court has made an equitable
award of attorney fees in certain cases involving bad faith
or malicious behavior, but this equitable consideration is

only invoked infrequently, Astate of Lindgren, 268 Mont.
96, 102, 885 P.2d 1280, 1284 (1994),

Attorney fees are not recoverable as costs under
Section 25-10-201, MCA, nor is this a contract claim. In
their responses to Defendants’ motions, Plaintiffs did net
invoke any of the narrow exceptions to the general rule,
in fact, they [*9] failed to address the issue of attorney
fees at all. The Court therefore concludes that none of
the exceptions apply. Defendants' motions on this issue
are GRANTED.

The Court wishes to emphasize that this case is at a
very preliminary stage, and that the standard for
evaluating the viability of Plaintiffs' claims is not whether
they are likely to succeed, but rather whether there is any
possibility they will succeed. Many of Defendants'
arguments may be more appropriately considered on a
motion for summary judgment after Defendants have had
ah oppertunity to conduct discovery to determine if there
is any factual support for Plaintiffs’ claims.

ORDER

Plaintiffs’ first claim for relief on the theory of
business disparagement is DISMISSED.

The thicd claim for relief, intentional infliction of
emotional distress, and fourth claim for relief, negligent
infliction of emotional distress, are DISMISSED as to
Plaintiff Big Sky Corporation.

The request for punitive damages under the fourth
claim for relief, negligent infliction of emotional distress,
is DENIED,

Plaintiffs’ requests for attorney fees under all claims
for relief are DENIED,

Defendants! motions on all other issues [*10] are
DENIED.

Defendants have twenty days from the date of this
Order to file responsive pleadings.

IT IS SO GRDERED.
DATED this Ist day of May, 1997.

District Court Judge

